       4:08-cr-00367-TLW    Date Filed 07/09/20    Entry Number 582   Page 1 of 3




                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF SOUTH CAROLINA
                             FLORENCE DIVISION

United States of America,                      Crim. No. 4:08-cr-00367-TLW-2

         v.
                                                              Order
Sammy Hardison Shine



        This matter is before the Court on Defendant’s motion for a sentence reduction

pursuant to the First Step Act of 2018, passed by Congress and signed into law by the

President on December 21, 2018. Pub. L. No. 115-391, 132 Stat. 5194. The Court’s

prior order on this motion provided a detailed explanation of the factual and legal

background of this case and the Court incorporates that discussion here. ECF No.

579.

        Briefly, the Court concluded that Defendant was eligible for a First Step Act

reduction and the remaining question was whether a resentencing without the career

offender designation was mandated by the Fourth Circuit’s recent decision in United

States v. Chambers, 956 F.3d 667 (4th Cir. 2020). The Court found that it was proper

to conclude that Chambers required the correction of the retroactive Guidelines error

and therefore granted Defendant’s motion. The Court then calculated his non-career

offender Guidelines range at 168 to 210 months, based on a total offense level of 37

and criminal history category of IV, less five levels for the prior § 5K1.1 reduction.

The Court also directed the Government to respond and state whether it conceded

that Defendant is no longer a career offender in light of United States v. Simmons,

649 F.3d 237 (4th Cir. 2011) (en banc) and whether it agreed with the above

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     4:08-cr-00367-TLW      Date Filed 07/09/20   Entry Number 582     Page 2 of 3




Guidelines calculation. The Court also gave both parties an opportunity to comment

regarding an appropriate sentence. ECF No. 579.

      In its response, the Government agreed that Defendant’s Guidelines range

should be recalculated in light of Simmons. ECF No. 581 at 1. The Government

stated, “In this case, as in Chambers, [Defendant’s] career offender designation was

based on North Carolina drug convictions which no longer qualify as career offender

predicates based on [Simmons]. As this Court has noted, based on Chambers, a

Simmons Guidelines error ‘must be corrected in a First Step Act resentencing.’” Id.

(quoting Chambers, 956 F.3d at 668). The Government also agreed that the above

Guidelines calculation is correct. Id. at 1–2. The Government did not take a position

in opposition to a sentence within the revised Guidelines range and instead left it to

the sound discretion of the Court. See id. at 2. Defendant did not file a response,

having outlined his position in detail in the earlier briefing.

      In determining an appropriate sentence, the Court carefully considered the

Chambers decision, the Government’s response, and Defendant’s motion. In addition,

the Court considered the current statutory range, the Guidelines range, the § 3553(a)

factors, and evidence of post-sentencing mitigation. Defendant is now sentenced to a

term of imprisonment of 175 months or time served, whichever is greater.1 His



1 Pursuant to United States v. Ketter, 908 F.3d 61 (4th Cir. 2018), should a sentence
of time served constitute an upward variance, having carefully considered the record
in this case and the § 3553(a) factors, the Court concludes that such a variance is
warranted. See, e.g., United States v. Laguerre, No. 5:02-cr-30098-3, 2019 WL
861417, at *3–4 (W.D. Va. Feb. 22, 2019) (“In particular, the need to protect the public
and the need for deterrence dictates that a defendant not be allowed to ‘bank time,’
which could allow him to commit further crimes without the fear of imprisonment.

                                            2
    4:08-cr-00367-TLW      Date Filed 07/09/20   Entry Number 582   Page 3 of 3




supervised release term remains 10 years, as required by statute. An amended

judgment will follow.

      IT IS SO ORDERED.

                                       s/ Terry L. Wooten
                                       Terry L. Wooten
                                       Senior United States District Judge

July 9, 2020
Columbia, South Carolina




. . . The court also considers the need to avoid unwarranted sentencing disparities
and the fact that other courts granting reductions under the First Step Act have
reduced to sentences of time served, even where a defendant had served more than
the applicable guideline range.”).


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